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;_CN N€/ UNH'€G| 5~}@€£'€$ Dis‘}R|c“l? CQE

R."\
iam“eRN .DF$'}R|C'L' O`F ARKME&$ .D'HTH" CO%H'$AF

. ppm
0 1°1Ne Blu¥'? ._D1`1/1`51`0N JAMES 2018
” w CLE;§K

 

 

 

 

 

 

 

3 CMR|€$ E. Ham~e£ #/‘1/3063 fm
1 1/. case#§.‘/'?,cv»ooov‘i~JLH~BD
j)ar\/Nv BuRlS ei al, De-FQNO\M

 

 

P\a\Nh‘F+`S obiec>flo~:)'v Recomme~@lec, 1)1`501)51'/1`0N
(D T}\e, olalN“/'Hlf object ;{%R ‘H\e '("1> llouvl~a ReasoN5 T/\§, Cou/<`t /\As

Ae@me/voled 'l'\'vd; 'H\Q. bladth clues NQ`L' /+WQ a L… /N'[€R€$+ lN `H\‘L

3 -h~\@ 1111 was }\QM 1304 9'03 0101/5 1`/1/ 010|~»1`~15+»€>‘111\/€ seq,eegmbb/v éecwse

4 HT 300/reid 1110 umst ‘Yaced 111/1151 aN/vacm) md 51`a/1/1`~F1CO\/\fi' /\Msl\fjs

__Cm¢m@\ ~110 ‘H\z 0Ad1`1\/1v<71/1N cr`dm% er 411/mow /rl`€ vaevek, -H\g, 9)1111\171$?
Le§s 40 0\1~(;-§:£ 511\0§_0\§ I1Q, 15 a mQN`H l\QoJH\ INN\oCk@ mike 111/615 NO`£' SHVW
Relevw~rb 0@100\`1¢0/\ 011/d mem/1 Ji`w| gev1ew5 +BR 411 ¥1`/<5+ /L/O days a‘?
1115 -E)Aw\ 4551¢1/1/~\1~T mtc 554/vwth FMM/<~\@Ae JLM@ 1145 ~o 1~0\1`- 4
Co\Jm>N o'F wk\l k»~ 111/019 eve/11 1)|&0€1 1\0/ 5€4/<€40:£71)0) 010/77`}/411<1115`/'/9190/5 5€@
(Joc. 10 1041 36 li'~l L,"M 53 L'lO 605

 

 

®T}\@' bhle wAs 11161/6€ cn\/€A/ /1/017¢€ o‘F a}\M/qua QR w)\a‘f c}\a,§ges 43
‘H\c 0111`50~ 44011~1576071\0111 held 4401/1157 /11/v1 70 cause /1/`5 50//%1£1/ COMH`A/e/v\!>v?f
11/\/}1`} `H\£ l\m)~a was /\elJ wilmva his Cffe/v¢)aA/ce CJoc 3~0 133. 3&>1)1}}11).1\1 3
placemeNJv` 1/v hdmm))`$‘/'KAHV€ seawarth 1`/v11>1)11125191v1`1v~\01'b€5 {1`41'/€1)’1/\1+?£€5'£ 'H\M\L¢»;_
oblon Q/Ause RMM/R€S pkl$oN 0‘?(:1`01`01/5 ~h) 6 Nm§€ wI~H\ 500/19 No`}?l>c mci
+_ke cwges 111101`115+}11`111 QNJ wvop})o:+u~ffv 70:112€51/#/115 views +) +ke 1>/11`50/1/

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1111 1111 31111111@? 144143.11;1 ;1015 alo<:.:,w 1>1 60
PAEE/'o /

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®IN AoUHW`oN 40 "H\L Mojh`c& add oe,m§Mu`;§¢_-EQ&?QBM@N_WU

, @\We Peocess ke?uu`&cs l,>/<ism\) ¢r(lf`w`c?¢s ‘1‘\) l\_A_\/e m eviAeA/th§v l)q;`p ~Fo/¢H\QA`R
_j_L€£S_gm_jQ+.lL€/_AM_IAL/vmi€ /`N Sgk€igm':z`o/v 'FoR Mm}Nr`s‘fM'/?LV¢ R€ASONS~

. 564 51§{>6€1`N+WJ€N`L' V, Hl`/I/. ‘/79\ U.$' "/L/$l,"/$S§%E>)T}\e, eviJW~/~,`Mth§j§
___ l$ 50:,7`5":|.¢'9 i`F'H\€K€ 1\5 u_$O/Y\€ eVl`d@\/C€,“ ~HQON\ W}\|`c;\ a Cqu‘/’CAN ¢JF_J&CQ, AN

__AJ_U\;N;$+RA‘HV'€/ +Ribu~&r$ CONG[M$[\ON‘G.HH; L/,]a M'S' at q$§`): G_DMSSAEN_I>V'
Mkv) 301 F 3d at /|0'4‘05>. Tl\e eviJe»\/ce Rel\`eJ " l

 

 

 

 

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IN ‘Hw. 'plau\/M;FS /MH€R /\e was placed /`/v seqxeqqh`a/v 0~ NW§<:¢\ él€,
L/ \/ ’

\ ` l \ \ c
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`| tv ` 5 IQ~)Q~GIS se\/€A@\l' mon/‘U\$A‘H€/€"bN-Q¢j, 566(¢];01§'0?§,&€,€02
ou \ s k w€A FN` ov\/V ¢ll`Soilz>/¢`NM/v +RO\&L|€/ md lp&i$oN 0‘(3("¢`¢:>)\ 5 N%W\

F loanvw\ fw)/ e\/lJ€A/Na`A/v loo\<sls`n€£»e ~Ho,?/< dw`s¢`m -h) sagAe:/qkkMU/Amh$?
B od' ~H\L om+se't' w‘m>b olQ.o/°»WQA M~\ owe l\l`$ /FF€ ov\/o' //`b?/€'h/ owJ l/u`$ A|`qh`b

¥`H G'WL 'oRo<>eS$.

 

 

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h H@lm§,. use u.s. L/ao/. 977 n.q U%B) wm M;@d;¢ `£Mew§ mm `1,@ mm
IHWV M€aN`\Ng/€S$ gQS+MRCS 40 SOL‘H$`H/cl\i£ Ce$$' 5@€C"FBUSSAI`N'{:\A/Y\°Mkv\
F 436 F\ 9~/) 800) 803~ 03 (lé)‘i®Tk‘qlafA/rHPF /\AS i'nfl~f\ooluc€d evc`o'€A/ce~/z, -H\g,//
F mud +k_od' clm\/v ?N¢lioai”€$ kc hal mean/ing /ess Aevz`ew§ H\O.;[~»~Fm`[¢d
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_Bl_§_€/QMIJMMASQQA€MMN FN ost oil +l\o,se Ae’\/a`€ws. )`N wkl`o}\ ~f;)o ~h\m/e$

\ \“/\ d \ \» /\
_;B\Lp&\;m M\~uwswl+~dc)b~ ahth even vo+e % cq[ih~w las mm dva
QQC. 21~0 lpgs, 1/01. 535 owo\ M\`l£o\ ‘h) give a kea$oN -F»A NS coN“\f/)`NJLJ
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f ~lmclp,~§`eA/¢lm+$ PRD\/;\\`/lg_‘l;keke wa§ mo,gg 'l'lw\/ oN€ lv`zv\£ l\L ~Fz`.`ltzl a que\/a/Vce

_gngo\l`N`¢/\ ~ol' mcel\/\\Nq lu`$ DRQ.s cm`l¢wl mullng l\ea/ll\ N\Mllcxl?\)/\ILA:J ‘Hv)Cl/`
~H\o~ ale~c€le\/'l`~; w%<edmA/ake', o~F m maHU w\/o\ ‘l'l?\o€l' l\sL SWF~F€R€J `QQDM

4 4 S€/<\`ov\$ mwlv\l Ll.l¢Less ow@l mdlml ~w)\ mal Mgl'_s%,;eqd?`o~ emce/elall€el

5 l\.\`s OoNcll‘l')Y)/\/ M_M§MQMMAM!/ /\vall‘PFQA€A/f `li)`/ F'l”. Il' l`$ No`t

r*“\`m\\l\l*lw/e>/e$ ma ` 'lv ` ou)\ L£QV|`O\€AICQM‘H\BCALL$€.

F* 69 ch'h)/\/ +l\/)CDM\`H veA/V well Ae~v mal ol#u),el\/Q, ~@Alal`va¥P Jl" l\c`$

5 gych h judice m chs erv.`/ claim al AM'. H@ sikole h dfw/wl
z v\\`$¢m/U/v 5a l\e cow \/eA\"F/`v ‘lr> ‘ll~o. Cnuk`l MMclS 0+` l\l$ Co\;LA'l"l\GA/d

 

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4lw€l)~~$lc`€)< ‘l~\) mo~H\Q/Q uNl‘l`(cloc'.;l~O M.3bejggle`liq, olm/Jlu`{l€ e
f M~§few) mr OW/\/ wl wm m A,QK.JQM»‘ co,eé. m ,? MSM+@H»~
Fa\lVl-'>l§)/\/ 'llv\a‘l,' is ol)l@xl'wl `lo `l»€)‘lA/~S`F%€l/v ')//v\oil;€$ C$)~szc dlay:$ oQ;Q W%K .`77\2/
__Flgld‘l\"(;f: >’\d;§/QS ~QQo/v\ ov\/`lw"socihl }>@QSoNdl dll$o€él€<,. Lo£JQRll/GPHM!£$_Q/MYLM'

' `c ess is ' " wl `sc` " ` meal

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5Nor\lP o\i$€'i})l.lNa/W R€ASLNS -Y§>R make 4l:l\¢A|/\) 0\ /v\le/v\al oe/Q\`aol Nece.s§aky ~l1)
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coNcW\/€él Aloo\rl‘ os\/cl\ol¢mwl l111_1§111 414 40411115 a lam 1sol4lloN>
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